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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF MARK MAO IN
22     other similarly situated,                                 SUPPORT      OF    PLAINTIFFS’
                                                                 OPPOSITION TO GOOGLE’S MOTION
23                       Plaintiffs,                             FOR SUMMARY JUDGMENT
        v.
24
                                                                 Judge: Hon. Richard Seeborg
25     GOOGLE LLC,                                               Courtroom 3 – 17th Floor
                                                                 Date: July 25, 2024
26                       Defendant.                              Time: 1:30 P.M.
27

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       __________________________________________________________________________________________________________________
                            DECLARATION OF MARK MAO ISO PLAINTIFFS’ OPPOSITION
                                   TO MOTION FOR SUMMARY JUDGMENT
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1                                         DECLARATION OF MARK MAO

2              I, Mark Mao, declare as follows.

3              1.       I am a partner with the law firm of Boies Schiller Flexner LLP (“BSF”), counsel

4     for Plaintiffs in this matter. I am an attorney at law duly licensed to practice before all courts of

5     the State of California. I have personal knowledge of the matters set forth herein and am competent

6     to testify.

7              2.       I submit this Declaration in support of Plaintiffs’ opposition to Google’s motion for

8     summary judgment.

9              3.       Attached hereto as Exhibit 1 is a true and correct copy of a document Google

10    produced in discovery labeled GOOG-RDGZ-00149701.

11             4.       Attached hereto as Exhibit 2 is a true and correct copy of a document Google

12    produced in discovery labeled GOOG-RDGZ-00024709.

13             5.       Attached hereto as Exhibit 3 is a true and correct copy of a document Google

14    produced in discovery labeled GOOG-RDGZ-00151992.

15             6.       Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the Expert

16    Report of Plaintiffs’ technical expert Jonathan Hochman, dated March 22, 2023. A full copy of

17    Mr. Hochman’s report is available at Dkt. 314-5.

18             7.       Attached hereto as Exhibit 5 is a true and correct excerpt of Google’s Supplemental

19    Responses to Plaintiffs’ Interrogatories, Set One, dated November 5, 2021.

20             8.       Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the

21    deposition transcript of Google Senior Director of Product Management Eric Miraglia, taken

22    October 25, 2022.

23             9.       Attached hereto as Exhibit 7 is a true and correct copy of excerpts from Google’s

24    Second Supplemental Responses and Objections to Plaintiffs’ Interrogatories, Set Three, dated

25    April 28, 2023, as well as true and correct copies of various bates-stamped versions of the WAA

26    Help Page, which are referenced in the Interrogatory Response.

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1              10.      Attached hereto as Exhibit 8 is a true and correct copy of Google’s Privacy Policy

2     effective May 25, 2018.

3              11.      Attached hereto as Exhibit 9 is a true and correct copy of Google’s Privacy Policy

4     effective January 22, 2019.

5              12.      Attached hereto as Exhibit 10 is a true and correct copy of Google’s Privacy Policy

6     effective October 15, 2019.

7              13.      Attached hereto as Exhibit 11 is a true and correct copy of Google’s Privacy Policy

8     effective December 19, 2019.

9              14.      Attached hereto as Exhibit 12 is a true and correct copy of Google’s Privacy Policy

10    effective March 31, 2020.

11             15.      Attached hereto as Exhibit 13 is a true and correct copy of Google’s Privacy Policy

12    effective July 1, 2020.

13             16.      Attached hereto as Exhibit 14 is a true and correct copy of Google’s Privacy Policy

14    effective August 28, 2020.

15             17.      Attached hereto as Exhibit 15 is a true and correct copy of Google’s Privacy Policy

16    effective September 30, 2020.

17             18.      Attached hereto as Exhibit 16 is a true and correct copy of Google’s Privacy Policy

18    effective February 4, 2021.

19             19.      Attached hereto as Exhibit 17 is a true and correct copy of Google’s Privacy Policy

20    effective July 1, 2021.

21             20.      Attached hereto as Exhibit 18 is a true and correct copy of Google’s Privacy Policy

22    effective February 10, 2022.

23             21.      Attached hereto as Exhibit 19 is a true and correct copy of Google’s Privacy Policy

24    effective October 4, 2022.

25             22.      Attached hereto as Exhibit 20 is a true and correct copy of Google’s Privacy Policy

26    effective December 15, 2022.

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1              23.      Attached hereto as Exhibit 21 is a true and correct copy of Google’s Privacy Policy

2     effective July 1, 2023.

3              24.      Attached hereto as Exhibit 22 is a true and correct copy of Google’s Privacy Policy

4     effective October 4, 2023.

5              25.      Attached hereto as Exhibit 23 is a true and correct copy of Google’s Privacy Policy

6     effective November 15, 2023.

7              26.      Attached hereto as Exhibit 24 is a true and correct copy of Google’s Privacy Policy

8     effective January 15, 2024.

9              27.      Attached hereto as Exhibit 25 is a true and correct copy of Google’s Privacy Policy

10    effective February 8, 2024.

11             28.      Attached hereto as Exhibit 26 is a true and correct copy of Google’s Privacy Policy

12    effective June 28, 2016.

13             29.      Attached hereto as Exhibit 27 is a true and correct copy of Google’s Privacy Policy

14    effective August 29, 2016.

15             30.      Attached hereto as Exhibit 28 is a true and correct copy of Google’s Privacy Policy

16    effective March 1, 2017.

17             31.      Attached hereto as Exhibit 29 is a true and correct copy of Google’s Privacy Policy

18    effective April 17, 2017.

19             32.      Attached hereto as Exhibit 30 is a true and correct copy of Google’s Privacy Policy

20    effective October 2, 2017.

21             33.      Attached hereto as Exhibit 31 is a true and correct copy of Google’s Privacy Policy

22    effective December 18, 2017.

23             34.      Attached hereto as Exhibit 32 is a true and correct copy of excerpts from the

24    deposition transcript of Google’s expert Donna Hoffman, taken July 11, 2023.

25             35.      Attached hereto as Exhibit 33 is a true and correct copy of a document Google

26    produced in discovery labeled GOOG-RDGZ-00210316.

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1              36.      Attached hereto as Exhibit 34 is a true and correct copy of a document Google

2     produced in discovery labeled GOOG-RDGZ-00033245.

3              37.      Attached hereto as Exhibit 35 is a true and correct copy of excerpts from the

4     deposition transcript of former Google Senior Software Engineer Blake Lemoine, taken as part of

5     litigation in Brown v. Google, 20-cv-3664 (N.D. Cal.) on December 21, 2023. The deposition taken

6     in Brown was not marked confidential or highly confidential by Google. Plaintiffs disclosed Mr.

7     Lemoine as a witness in this case on October 4, 2023, after Mr. Lemoine contacted Plaintiffs’

8     counsel. Plaintiffs have requested the production of Mr. Lemoine’s documents and have offered

9     him for deposition in this case, but Google has refused. Mr. Lemoine’s deposition in Brown

10    reflects the testimony he would give if called to testify in this case.

11             38.      Attached hereto as Exhibit 36 is a true and correct copy of an enlarged version of

12    Google disclosures, as depicted on page 4 of Plaintiffs’ opposition brief.

13             39.      Attached hereto as Exhibit 37 is a true and correct copy of correspondences

14    between counsel for Plaintiffs and Google in this case dated November 8, 2022.

15             40.      Attached hereto as Exhibit 38 is a true and correct copy of a document Google

16    produced in discovery labeled GOOG-RDGZ-00020556.

17             41.      Attached hereto as Exhibit 39 is a true and correct copy of Google’s “Activity

18    Controls” page.

19             42.      Attached hereto as Exhibit 40 is a true and correct copy of a document Google

20    produced in discovery labeled GOOG-RDGZ-00208190.

21             43.      Attached hereto as Exhibit 41 is a true and correct copy of a document Google

22    produced in discovery labeled GOOG-RDGZ-00043294.R.

23             44.      Attached hereto as Exhibit 42 is a true and correct copy of Exhibit 15 used during

24    the deposition of Google’s expert Donna Hoffman, taken July 11, 2023. This deposition exhibit is

25    a copy of the Google Privacy Policy, effective December 15, 2022.

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1              45.      Attached hereto as Exhibit 43 is a true and correct copy of excerpts from the

2     deposition transcript of Plaintiffs’ technical expert Jonathan Hochman, taken June 26, 2023.

3              46.      Attached hereto as Exhibit 44 is a true and correct copy of a document Google

4     produced in discovery labeled GOOG-RDGZ-00030007.R.

5              47.      Attached hereto as Exhibit 45 is a true and correct copy of a document Google

6     produced in discovery labeled GOOG-RDGZ-00029866.

7              48.      Attached hereto as Exhibit 46 is a true and correct copy of excerpts from a

8     document Google produced in discovery labeled GOOG-RDGZ-00060716.

9              49.      Attached hereto as Exhibit 47 is a true and correct copy of excerpts from the Expert

10    Report of Plaintiffs’ privacy expert Bruce Schneier, dated February 20, 2023. A full copy of

11    Professor Schneier’s report is available at Dkt. 314-6.

12             50.      Attached hereto as Exhibit 48 is a true and correct copy of a Google article titled

13    “How our display buying platforms share revenue with publishers”, dated June 23, 2020, available

14    here: https://blog.google/products/admanager/display-buying-share-revenue-publishers/.

15             51.      Attached hereto as Exhibit 49 is a true and correct copy of a document Google

16    produced in discovery labeled GOOG-RDGZ-00188469.

17             52.      Attached hereto as Exhibit 50 is a true and correct copy of excerpts from the Expert

18    Report of Plaintiffs’ damages expert Michael Lasinski, dated February 20, 2023. A full copy of

19    Mr. Lasinski’s report is available at Dkt. 314-7.

20             53.      Attached hereto as Exhibit 51 is a true and correct copy of excerpts from Google’s

21    Supplemental Response to Plaintiffs’ Interrogatory No. 14, Set Six, dated March 30, 2023.

22             54.      Attached hereto as Exhibit 52 is a true and correct copy of excerpts from the

23    deposition transcript of Class Representative Julian Santiago, taken March 7, 2022.

24             55.      Attached hereto as Exhibit 53 is a true and correct copy of excerpts from the

25    deposition transcript of Class Representative Sal Cataldo, taken February 17, 2022.

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1              56.      Attached hereto as Exhibit 54 is a true and correct copy of excerpts from the

2     deposition transcript of Class Representative Susan Lynn Harvey, taken October 27, 2022.

3              57.      Attached hereto as Exhibit 55 is a true and correct copy of excerpts from the

4     deposition transcript of Class Representative Anibal Rodriguez, taken October 16, 2022.

5              58.      Attached hereto as Exhibit 56 is a true and correct copy of a document Google

6     produced in discovery labeled GOOG-RDGZ-00181440.

7              59.      Attached hereto as Exhibit 57 is a true and correct copy of excerpts from the

8     deposition transcript of Google Software Engineer Christopher Ruemmler, taken September 9,

9     2022.

10             60.      Attached hereto as Exhibit 58 is a true and correct copy of a document Google

11    produced in discovery labeled GOOG-RDGZ-00130381.

12             61.      Attached hereto as Exhibit 59 is a true and correct copy of a document Google

13    produced in discovery labeled GOOG-RDGZ-00130745.

14             62.      Attached hereto as Exhibit 60 is a true and correct copy of a document Google

15    produced in discovery labeled GOOG-RDGZ-00144760.

16             63.      Attached hereto as Exhibit 61 is a true and correct copy of a document Google

17    produced in discovery labeled GOOG-RDGZ-00039114.

18             64.      Attached hereto as Exhibit 62 is a true and correct copy of a document Google

19    produced in discovery labeled GOOG-RDGZ-00087964.

20             65.      Attached hereto as Exhibit 63 is a true and correct copy of a document Google

21    produced in discovery labeled GOOG-RDGZ-00025811.

22             66.      Attached hereto as Exhibit 64 is a true and correct copy of a document Google

23    produced in discovery labeled GOOG-RDGZ-00044478.R.

24             67.      Attached hereto as Exhibit 65 is a true and correct copy of a document Google

25    produced in discovery labeled GOOG-RDGZ-00203679.

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1              68.      Attached hereto as Exhibit 66 is a true and correct copy of a document Google

2     produced in discovery labeled GOOG-RDGZ-00020692.

3              69.      Attached hereto as Exhibit 67 is a true and correct copy of a document Google

4     produced in discovery labeled GOOG-RDGZ-00021160.

5              70.      Attached hereto as Exhibit 68 is a true and correct copy of excerpts from a

6     document Google produced in discovery labeled GOOG-RDGZ-00151484.

7              71.      Attached hereto as Exhibit 69 is a true and correct copy of a document Google

8     produced in discovery labeled GOOG-RDGZ-00090236.

9              72.      Attached hereto as Exhibit 70 is a true and correct copy of a document Google

10    produced in discovery labeled GOOG-RDGZ-00173562.

11             73.      Attached hereto as Exhibit 71 is a true and correct copy of a document Google

12    produced in discovery labeled GOOG-RDGZ-00117318.

13             74.      Attached hereto as Exhibit 72 is a true and correct copy of excerpts from the

14    deposition transcript of Google Product Manager David Monsees, taken September 15, 2022.

15             75.      Attached hereto as Exhibit 73 is a true and correct copy of excerpts from Google’s

16    Responses to Plaintiffs’ Requests for Admission 1, Set One, dated November 25, 2020.

17             76.      Attached hereto as Exhibit 74 is a true and correct copy of excerpts from the

18    deposition transcript of Google’s expert Anindya Ghose, taken July 13, 2023.

19             77.      Attached hereto as Exhibit 75 is a true and correct copy of excerpts from the

20    deposition transcript of Google’s expert Christopher Knittel, taken July 11, 2023.

21             78.      Attached hereto as Exhibit 76 is a true and correct copy of excerpts from the

22    deposition transcript of a Google Rule 30(b)(6) designee and Group Product Manager for Google

23    Analytics, Steve Ganem, taken October 28, 2022.

24             79.      Attached hereto as Exhibit 77 is a true and correct copy of a document Google

25    produced in discovery labeled GOOG-RDGZ-00092072.

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1              80.      Attached hereto as Exhibit 78 is a true and correct copy of a document Google

2     produced in discovery labeled GOOG-RDGZ-00001010.

3              I declare under penalty of perjury under the laws of the United States of America that the

4     foregoing is true and correct. Executed this 2nd day of May 2024, at San Francisco, California.

5                                                                     /s/ Mark Mao
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